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CLERK OF COURT

IN THE CIRCUIT COURT OF TENNESSEE
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS, SHELBY COUNTY

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BRYAN WILLIAMS,

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Plaintiff | APR 297"
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Vv. eee Docket No, (T-171b-14
Div. 2
H.H. BROWN SHOE COMPANY, INC., JURY DEMANDED

d/b/a CAROLINA SHOE COMPANY,

Defendant.

 

COMPLAINT FOR DAMAGES

 

COMES NOW the Plaintiff, Bryan Williams (‘Plaintiff’), by and through counsel of
record, and files this Complaint for damages against the Defendant H.H. Brown Shoe
Company, Inc., doing business as Carolina Shoe Company (hereinafter “Carolina Shoe
Co.” or “Defendant"). In support of his cause, Plaintiff would show unto the Court as
follows:

PARTIES

1. Plaintiff Bryan Williams is an adult citizen of Memphis, Shelby County,
Tennessee,

2. H.H. Brown Shoe Company, Inc. doing business as Carolina Shoe Co. is a
Delaware Corporation with its principal address at 124 West Putnam Ave., Greenwich,
Connecticut 06830. H.H, Brown Shoes Company, Inc. doing business as Carolina Shoe
Co, may be served with process by serving its Registered Agent United Corporate
Service, Inc, at 874 Walker Rd, Ste C, Dover, Delaware 19904 or its Registered Agent J.

Scott Bohling at 275 Greenwich Avenue, Apartment 2B, Greenwich, Connecticut 06830.

DEFENDANT’S

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JURISDICTION & VENUE

3. The jurisdiction of this Court is invoked pursuant to Tenn. Code Ann § 16-
10-101.

4, Venue is proper in this Court pursuant to Tenn. Code Ann. §§ 20-4-101 ef
seq. as all of the acts or omissions complained of occurred in Shelby County, Tennessee.

&. This case has been filed in a timely manner within one year from the date
of the incident which is the subject of this cause of action,

6. At all tlmes relevant hereto, the Defendant was engaged in the business of
designing, developing, manufacturing, testing, packaging, promating, marketing,
distributing, labeling, and/or selling CA 9582 — 8-inch Waterproof Non-Metallic Internal
Metguard Boots (“Metguard Boots”).

7. At all times relevant hereto, the Defendant transacted, solicited, and
conducted business in the State of Tennessee, thereby availing Itself of the benefits of
transacting business in Tennessee — which Include deriving substantial revenue from
such business.

8. At all times relevant hereto, the Defendant expected or should have
expected that its acts would have consequences within the state of Tennessee.

STATEMENT OF FACTS

9. At ail times relevant hereto, Plaintiff was an employee of Federal Express
(‘FedEx’),

10. At all times relevant hereto, Plaintiffs Job duties and responsibilitles at
FedEx included moving packages and via equipment provided by FedEx which, inter alia

included dollles,

 
 

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11. Due to the nature of Plaintiff's duties and responsibilities at FedEx in moving
packages, Plaintiff purchased a pair of Metguard Boots to prevent Injuries to his feet.

12, The Metguard Boots purchased by Plaintiff were advertised by the
Defendant as meeting the ASTM Standards for compression and Impact testing rating of
1-75/C-75.

13. On or about April 24, 2018, while at work and wearing the pair of Metguard
Boots he purchased, Plaintiff's left foot was struck by the handle of a dolly.

14. The impact from the handle of the dolly compressed the Metguard boot
causing significant damage and injury to Plaintiff's left foot.

15. The impact from the handle on Plaintiff's left foot did not exceed the
Metguard Boots’ compression and Impact testing rating of |-75/C-75.

16. The Metguard Boots Defendant advertised as a safety boot failed to protect
Plaintiff's foot in a manner reasonably expected and in light of their nature and intended
function for a compression and impact testing rating of |-75/C-76.

17. Asadirect result and proximate consequence of Plaintiff's Metguard Boots’
falling to perform In a manner reasonably expected In light of their nature and Intended
function for a compression and impact testing rating of !-75/C-75 the impact of the handle
of the dolly with Plaintiff's left foot caused severe trauma and damage to his left great toe
resulting in its amputation.

CAUSES OF ACTION
COUNT I: PRODUCT LIABILITY
18. Plaintiff incorporates by reference all preceding paragraphs and allegations

as if fully set forth herein.

 
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19. The Metguard Boots are tangible objects or goods produced.

20, The Metguard Boots are a “product,” as that term is defined by Tenn. Code
Ann. § 29-28-102(5).

21. At all times relevant hereto, the Defendant was responsible for designing,
developing, manufacturing and/or selling the Metguard Boots.

22. At ail times relevant hereto, Defendant was the Metguard Boots’
“manufacturer,” as that term is defined by Tenn. Code Ann. § 29-28-102(4).

23.  Atall times relevant hereto, Defendant was the Metguard Boots’ “seller,” as
that term is defined by Tenn. Code Ann. § 29-28-102(7).

24. ‘At all times relevant hereto, the Metguard Boots falled to perform in a
manner reasonably expected, in light of their nature and intended function when they
failed and resulted in Plaintiff's injuries,

25,  Atall times relevant hereto, the Metguard Boots were not misused post-sale
before they falled to comply with thelr compression and Impact testing rating of |-75/C-
75.

26.  Atall times relevant hereto, the Metguard Boots were within their anticipated
useful life when they failed to comply with their compression and impact testing rating of
|-75/C-75.

27, ~Atalltimes relevant hereto, the Metguard Boots’ failure was such that would
not have occurred in the absence of a design defect and/or unreasonably dangerous

condition within it.

 
 

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28.  Atall times relevant hereto, the Metguard Boots’ failure was such that would
not have occurred in the absence of a manufacturing defect and/or unreasonably
dangerous condition within it.

29, Atall times relevant hereto, the Metguard Boot’s failure was such that would
not have occurred in the absence of a marketing defect or unreasonably dangerous
condition within it, as the Metguard Boots failed to provide a proper warning label or
Instructions to help consumers, including Plaintiff, avoid injury.

30, At all tines relevant hereto, the Metguard Boots were unreasonably
dangerous and/or defective In that a reasonably prudent manufacturer would not have
put it in the market assuming that manufacturer knew of Its dangerous and/or defective
condition.

31. At all times relevant hereto, the Metguard Boots were unreasonably
dangerous and/or defective in that a reasonably prudent seller would not have put it in
the market assuming that seller knew of its dangerous and/or defective condition.

32. Atall times relevant hereto, Defendant knew or should have known that the
Metguard Boots were unreasonably dangerous and/or defective.

33.  Atall times relevant hereto, the Metguard Boots’ unreasonably dangerous
condition and/or defect proximately caused Plaintiff's injuries in violation of the Tennessee
Products Liability Act of 1978, Tenn. Code Ann. §§ 29-28-101 et seq.

COUNT Il: NEGLIGENCE
34. Plaintiff incorporates by reference all preceding paragraphs and allegations

as If fully set forth herein.

 
 

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35, At all times relevant hereto, Defendant owed a duty to Piaintiff to use
reasonable care in the development, design, manufacture, packaging, labeling, testing,
marketing, advertisement, inspection, distribution, provision of warnings and instructions,
and sale of the Metguard Boots.

36.  Atall times relevant hereto, Defendant breached said duty and Is guilty of
one or more of the following negligent acts and/or omissions:

a. Failing to use due care in the development, design, formulation, manufacturing,
labeling, testing, assembly, marketing, advertising, Inspection, sale and/or
distribution of the Metguard Boots;

b. Failing to provide adequate and proper warnings to the public and to Plaintiff of
the dangerous and/or defective propensities of the Metguard Boots;

c. Falling to adequately prevent, identify, mitigate, and fix defective designs and
hazards associated with the Metguard Boots;

d. Failing to notify and warn the public including Plaintiff of reported incidents
involving Injuries from the Metguard Boots;

@. Falling to make timely and adequate corrections to the manufacture, design
and formulation of the Metguard Boots; and

f. Failing to use due care in the testing, formulation, inspection, distribution, sale
and instructions regarding the Metguard Boots at all times prior to Plaintiff’
injurles,

a7. As a result of the material breaches by Defendant of its dutles to Plaintiff,

individually and/or collectively, Piaintiff suffered injuries.

 
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38.  Atall times relevant hereto, the foregoing acts of negligence by Defendant
were each a direct and proximate cause of or contributing factor to the incident described
herein and the concomitant damage to the Plaintiff.

39. At all times relevant hereto, Defendant knew or should have known from
their studying and testing, the unreasonably dangerous and/or defective condition of the
Metguard Boots.

40. At all times relevant hereto, Plaintiffs damages and Injuries are the legal
and proximate result of the negligent actions of Defendant.

COUNT Il: BREACH OF EXPRESS WARRANTY

41. Plaintiff incorporates by reference all preceding paragraphs and allegations
as If fully set forth herein.

42. Atallrelevanttimes hereto, Defendant was the seller of the Metqguard Boots.

43.  Atall times relevant hereto, Defendant made express representations to the
consuming pubilc, including Plaintiff, through Its marketing, advertising campalgns, and
labeling regarding the Metguard Boots’ safety and compression and impact testing
ratings.

44, Atall times relevant hereto, Plaintiff was induced to purchase the Metguard
Boots by Defendant's marketing, advertising campaigns, and labeling regarding the
Metguard Boots’ safety and compression and impact testing ratings

45. At all times relevant hereto, Defendant's express representations to the
consuming public, including Plaintiff, through its marketing, advertising campaigns, and
labeling regarding the Metquard Boots’ safety and compression and impact testing ratings

were false.

 
 

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46.  Atall times relevant hereto, the Metguard Boots did not conform to the
express representations made by Defendant,
COUNT II: BREACH OF IMPLIED WARRANTY
47. Plaintiff Incorporates by reference all preceding paragraphs and allegations
as If fully set forth herein.
48.  Ataill relevant times hereto, Defendant was a seller who deals in the type of
boots purchased by Plaintiff.
49, At all times relevant hereto, the Metguard Boots did not conform to its
compression and impact testing rating of I-75/C-75.
INJURIES AND DAMAGES
50. Plaintiff incorporates by reference all preceding paragraphs and allegations
as If fully set forth herein.
51. As the direct and proximate result of the Defendants’ negligence, breach of
duty and failed acts or omissions by Defendant, Plaintiff endured the following damages:
a. Physical pain, trauma and suffering, past, present, and future;
b. Gangrene of the left great toe;
c. Amputation of the left great toe;
d. Permanent impairment;
e, Psychological injury, past, present and future;
f. Mental and emotional angulsh, past, present, and future;
g. Medical Expenses, past, present, and future;
h. Lost wages; and

i, Other damages as allowed under the law or in equity,

 
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WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays for

judgment against Defendant and prays as follows:

a,

That process issue and be served upon the Defendant, and that the
Defendant be required to answer in a timely manner or have the allegations
herein be deemed admitted and a default judgment entered;

That the Plaintiff be awarded compensatory damages in an amount of three
million dollars;

That the Plaintiff reserve the right to amend this pleading based upon the
proof adduced during discovery in this cause;

That the Plaintiff be awarded all pre-judgment and post-judgment interest
on all verdicts or recoveries;

Jury trial; and

All other appropriate relief to which the Plaintiff may be entitled.

Respectfully Submitted,
THE SPENCE LAW FIRM, PLLC

 

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Attorneys for the Plaintiff

 
